Case 1:20-cv-23276-DPG Document 148-6 Entered on FLSD Docket 08/06/2021 Page 1 of 14
Case 1:20-cv-23276-DPG Document 148-6 Entered on FLSD Docket 08/06/2021 Page 2 of 14
Case 1:20-cv-23276-DPG Document 148-6 Entered on FLSD Docket 08/06/2021 Page 3 of 14
Case 1:20-cv-23276-DPG Document 148-6 Entered on FLSD Docket 08/06/2021 Page 4 of 14
Case 1:20-cv-23276-DPG Document 148-6 Entered on FLSD Docket 08/06/2021 Page 5 of 14
Case 1:20-cv-23276-DPG Document 148-6 Entered on FLSD Docket 08/06/2021 Page 6 of 14
Case 1:20-cv-23276-DPG Document 148-6 Entered on FLSD Docket 08/06/2021 Page 7 of 14
Case 1:20-cv-23276-DPG Document 148-6 Entered on FLSD Docket 08/06/2021 Page 8 of 14
Case 1:20-cv-23276-DPG Document 148-6 Entered on FLSD Docket 08/06/2021 Page 9 of 14
Case 1:20-cv-23276-DPG Document 148-6 Entered on FLSD Docket 08/06/2021 Page 10 of
                                      14
Case 1:20-cv-23276-DPG Document 148-6 Entered on FLSD Docket 08/06/2021 Page 11 of
                                      14
Case 1:20-cv-23276-DPG Document 148-6 Entered on FLSD Docket 08/06/2021 Page 12 of
                                      14
Case 1:20-cv-23276-DPG Document 148-6 Entered on FLSD Docket 08/06/2021 Page 13 of
                                      14
Case 1:20-cv-23276-DPG Document 148-6 Entered on FLSD Docket 08/06/2021 Page 14 of
                                      14
